            IN THE UNITED STATES DISTRICT COURT
                 FOR DISTRICT OF DELAWARE
                                )
IMPOSSIBLE FOODS INC.,          )
                                )
          Plaintiff,            )       C.A. No. 22-311 (CFC)
                                )
     v.                         )
                                )
MOTIF FOODWORKS, INC.,          )
                                )
          Defendant.            )
                                )
                                )


  PLAINTIFF IMPOSSIBLE FOODS INC.’S ANSWERING BRIEF IN
       OPPOSITION TO DEFENDANT’S MOTION TO STAY
              PENDING INTER PARTES REVIEW

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      Plaintiff Impossible Foods Inc. (“Impossible Foods”) respectfully opposes

Defendant Motif FoodWorks, Inc.’s (“Motif”) motion to stay this litigation pending

resolution of its pre-institution petition for inter partes review (“IPR”). For the

reasons set forth below, the Court should deny Motif’s motion or, at minimum, deny

it without prejudice to renew after the Patent Trial and Appeal Board (“PTAB”) has

made its institution decision on Motif’s pending petition.

I.    NATURE AND STAGE OF PROCEEDINGS

      On March 9, 2022, Impossible Foods filed suit against Motif for direct,

induced, contributory, and willful infringement of U.S. Patent No. 10,863,761 (the

“’761 patent”). D.I. 1.

      On April 20, 2022, Motif filed its IPR petition challenging the ’761 patent.

Impossible Foods’ preliminary response to the petition is due on July 29, 2022. An

institution decision is expected on Motif’s petition by October 31, 2022.

      On April 29, 2022, Motif answered the Complaint, asserting counterclaims of

non-infringement and invalidity of the ’761 patent after receiving a 30-day

extension. D.I. 10. Impossible Foods’ responsive pleading is due May 20, 2022.

II.   SUMMARY OF ARGUMENT

      The Court should deny Motif’s motion for a stay of this action pending the

resolution of its pre-institution IPR petition because the stay would not simplify

issues for trial before an institution decision, is not presented at a meaningful stage



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of the proceedings, and would unduly prejudice Impossible Foods.

          First, Motif urges the Court to depart from this District’s sound and well-

established practice of denying pre-institution motions to stay by asking the Court

to stay this action before the PTAB has even decided whether it will institute review

on Motif’s petition. Although Motif contends that the PTAB review will yield

simplifying effects for trial, such simplifying effects first require that the PTAB

actually institute review. There is no way of predicting, without resorting to pure

speculation, whether the PTAB will institute review in this case. Furthermore,

courts in this District have concluded that, until the PTAB decides to institute

review, attempting to determine if a stay will simplify issues for trial is too

speculative for this factor to weigh in favor of a stay. Thus, this factor weighs against

a stay.

          Second, the current stage of this litigation weighs against granting Motif’s

pre-institution motion to stay. Although the parties will expend some resources on

initial discovery and disclosures in the time until the PTAB issues its institution

decision, the vast majority of the parties’ and this Court’s future resources will be

consumed by activities that are not set to occur until after the institution decision,

such as the briefing and hearing on claim construction, the bulk of fact discovery,

including depositions, expert disclosures and discovery, summary judgment, and

trial. Thus, the Court can revisit Motif’s motion to stay after the PTAB makes its



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institution decision—if it is appropriate to do so at that time—and still be able to

stay most of the same litigation activity that Motif prematurely seeks to stay now.

In contrast, if the Court grants Motif’s request to stay the case now, prior to the

PTAB’s institution decision, and the stay proves to be unnecessary based on the

PTAB’s decision, then the stay will have delayed this case for no reason. Thus, this

factor weighs against a stay.

       Third, Motif’s requested pre-institution stay would cause undue prejudice to

Impossible Foods while affording a tactical advantage to Motif. Motif would

continue its infringing behavior while delaying any discovery on Impossible Foods’

infringement and damages claims, as well as a ruling on Impossible Foods’ request

for a permanent injunction. Meanwhile, Motif would ask the Court to defer to the

PTAB where it hopes to pursue its prior art defenses. Thus, this factor weighs

against a stay.

       Because there is no sound reason justifying Motif’s requested stay, the Court

should deny Motif’s motion.

III.   STATEMENT OF FACTS

       Impossible Foods is a leading plant-based food innovator and has successfully

developed multiple award-winning plant-based meat replica products, including the

IMPOSSIBLE BURGER, since its founding in 2011. D.I. 1, ¶¶ 1, 3, 16. Since the

company discovered the utility of hemoproteins for replicating the experience of



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cooking and eating meat in plant-based foods, Impossible Foods has applied for and

received numerous patents that protect its manufacturing processes, its ingredients,

and its finished products. Id., ¶¶ 3, 13, 17. The patent-in-suit, the ’761 patent, is

one such patent.

      Motif argues, in its “Statement of Facts,” that its IPR petition is meritorious

because of the duration and purported difficulty of the ’761 patent’s prosecution.

Motif is incorrect, as Impossible Foods will demonstrate at the procedurally proper

time. Moreover, Motif’s characterization of the prosecution history neglects to note

that the application from which the ’761 patent issued was successfully prosecuted

in less than two years. That application was filed on December 27, 2018, claiming

original priority to a provisional application dated July 12, 2011. D.I. 1-1 at 1. The

’761 patent is directed to a beef replica product comprising a muscle replica (which

in turn comprises “0.1%-5% of a heme-containing protein”) and a fat tissue replica.

D.I. 1-1, col. 49, cl. 1. Dependent claims of the ’761 patent recite additional

limitations such as “a connective tissue replica” and a requirement that the beef

replica product “contain[] no animal products.” Id., cls. 2, 12. Hundreds of

references were cited during the prosecution of the ’761 patent, including the

McMindes reference on which Motif relies in every ground for challenge in its IPR

petition. See D.I. 1-1 at 3; D.I. 9-1 at 19-20. On December 15, 2020, the ’761 patent

issued to Impossible Foods. D.I. 1-1 at 1.



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      Motif’s bare assertion that it “is not infringing, and has never infringed, the

’761 Patent” is not credible; the evidence of Motif’s infringement is overwhelming.

In 2019, Motif spun out from Ginkgo Bioworks with Ginkgo’s CEO describing a

plan for Motif to “brew up the next 100 hemes so that we can see many more

Impossible Burgers in the next few years.” D.I. 1, ¶ 39. Having been formed for

the purpose of copying Impossible Foods’ patented products, Motif moved quickly

to begin infringing. In April 2021, Motif filed a Generally Regarded As Safe

(“GRAS”) notice with FDA for HEMAMI—a hemoprotein-based ingredient that,

according to Motif, provides “meat alternatives” with “[t]he real umami flavors,

appearance and aromas of meat.” Id., ¶¶ 24-27. The GRAS notice notes that, like

Impossible Foods, Motif manufactures its hemoprotein via “fermentation from a

modified strain of Pichia pastoris” yeast, which is from the “same lineage as”

Impossible Foods’ proprietary yeast. Id., ¶ 26; D.I. 1-2 at 10. Motif proceeded to

demonstrate and trial infringing burgers made with HEMAMI on various occasions.

D.I. 1, ¶¶ 28-30.    Motif announced the commercial launch of HEMAMI in

December 2021. See id., ¶¶ 32, 37-38 & n.5. Multiple industry commentators have

noted that Motif’s HEMAMI copies and facilitates copying of Impossible Foods’

patented technology. Id., ¶¶ 37-38.

      On March 9, 2022, Impossible Foods filed this lawsuit. Motif filed its petition

for IPR with the PTAB on April 20, 2022, and the present motion, requesting a stay



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of this case, a few days later. The PTAB is expected to decide whether to institute

Motif’s IPR petition by October 20, 2022.

IV.   ARGUMENT

      Courts in this District primarily consider three factors when deciding a motion

to stay: “(1) whether granting the stay will simplify the issues for trial; (2) the status

of the litigation, particularly whether discovery is complete and a trial date has been

set; and (3) whether a stay would cause the non-movant to suffer undue prejudice

from any delay, or allow the movant to gain a clear tactical advantage.” Advanced

Microscopy Inc. v. Carl Zeiss Microscopy, LLC, C.A. No. 15-516-LPS-CJB, 2016

WL 558615, at *1 (D. Del. Feb. 11, 2016); NuVasive, Inc. v. Neurovision Med.

Prod., Inc., C.A. No. 15-286-LPS-CJB, 2015 WL 3918866, at *1 (D. Del. June 23,

2015). Further, this Court has considered how a stay will impact the burden of

litigation. IOENGINE, LLC v. PayPal Holdings, Inc., C.A. No. 18-452-WCB, 2019

WL 3943058, at *3 (D. Del. Aug. 21, 2019) (Bryson, J., sitting by designation).

      A.     The Weight of the Authority in this District Strongly Disfavors
             Stays Prior to the PTAB’s Decision on Whether to Institute an
             IPR

      A pre-institution stay is uncommon in the District of Delaware because

“[d]elay is not favored in litigation” and “putting the case on hold until the decision

to institute is made is likely less efficient than continuing on track through

discovery.” Universal Secure Registry LLC v. Apple Inc., C.A. No. 17-585-CFC-



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SRF, 2018 WL 4486379, at *3 (D. Del. Sept. 19, 2018). Indeed, at this stage, “any

expected simplification rests on speculation that such institution will occur.” Id., at

*2 (citing Advanced Microscopy, 2016 WL 558615, at *2).

      At the pre-institution stage, courts in this District have repeatedly denied

requests to stay the action. E.g., Rideshare Displays, Inc. v. Lyft, Inc., C.A. No. 20-

1629-RGA-JLH, 2021 WL 7286931, at *3 (D. Del. Dec. 17, 2021); Novozymes N.

Am., Inc. v. Danisco US Inc., C.A. No. 19-1902-JDW, 2020 WL 12895020, at *2

(D. Del. Mar. 31, 2020); Universal Secure Registry, 2018 WL 4486379, at *5;

Advanced Microscopy, 2016 WL 558615, at *3; NuVasive, 2015 WL 3918866, at

*3; Copy Protection LLC v. Netflix, Inc., C.A. No. 14-365-LPS, 2015 WL 3799363,

at *1 (D. Del. June 17, 2015); Pragmatus Mobile, LLC v. Amazon.com, Inc., No. 14-

436-LPS, 2015 WL 3799433, at *2 (D. Del. June 17, 2015).

      The few Delaware decisions granting a pre-institution stay that Motif cites are

unpersuasive as those stays were based on PTAB statistics that are now outdated

and/or inapposite facts. D.I. 9 at 12-13. For example, a court in this District, with

respect to the Neste Oil decision that Motif cites, explained that the decision was

motivated in part “by the fact that the moving party submitted statistical data [from

2013] showing that, at the time the motion to stay was pending, the PTAB had

granted review in ‘nearly all’ of the IPR petitions on which it had issued decisions.”

Toshiba Samsung Storage Tech. Korea Corp. v. LG Elecs., Inc., C.A. No. 15-691-



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LPS-CJB, 2015 WL 7824098, at *2 n.3 (D. Del. Dec. 3, 2015) (examining Neste Oil

OYJ v. Dynamic Fuels, LLC, C.A. No. 12-1744-GMS, 2013 WL 3353984, at *4 n.4

(D. Del. July 2, 2013)).

      Compared to the IPR institution statistics relied on in Motif’s cited case—

statistics gathered in 2013 when the IPR process was new and “when the PTAB was

granting review as to ‘nearly all’ of the IPR petitions on which it had then issued

decisions”—“more recent data suggests that review is being instituted in far fewer

cases.” Advanced Microscopy, 2016 WL 558615, at *2. The statistics submitted

and cited by Motif show that the institution rate for petitions in FY2021 was only

59%. D.I. 9-1, Ex. 3 at 8. The overall institution rate was even lower for petitions

in the chemical arts—only 51%. See Ex. A at 9. “The more that the statistical

likelihood of the PTAB instituting review on any petition seems less like ‘near

certainty’ and more like ‘fair probability,’ the less reasonable it seems to stop a

district court proceeding after it has started—only to perhaps be required to start it

up again later if the PTAB issues an unfavorable decision to the petitioner.”

Advanced Microscopy, 2016 WL 558615, at *2. Moreover, courts in this District

have warned against relying on such statistics at all when deciding whether to grant

a motion to stay because “acceptance of a specific statistical threshold as sufficient

justification for a stay would abrogate the discretionary nature of the inquiry.”

Invensas Corp. v. Samsung Elecs. Co., C.A. No. 17-1363-MN-SRF, 2018 WL



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4762957, at *2 n.2, *5 (D. Del. Oct. 2, 2018); see also Textron Innovations Inc. v.

Toro Co., C.A. No. 05-486 (GMS), 2007 WL 7772169, at *3 (D. Del. Apr. 25, 2007)

(“The court is confident that the PTO examines each matter on its own merit, so

although the court finds the statistics interesting, they bear little weight on the court’s

decision . . . .”).

       Motif’s reliance on Arch Chemicals, Inc. v. Sherwin Williams Co., C.A. No.

18-2037-LPS, D.I. 48 (D. Del. Nov. 5, 2019), is also unavailing. In Arch Chemicals,

Judge Stark’s decision was based, in part, on the fact that the parties were not

competitors, which is not the case here. See C.A. No. 18-2037-LPS, D.I. 48. As

discussed below, the parties here are competitors and Impossible Foods will be

prejudiced by a stay, particularly an immediate one based on pure speculation about

an event that is six months in the future. Moreover, although the Arch Chemicals

case was in a “nascent” stage, that appears to be because the parties had been

engaged in settlement discussions since the filing of the case. Arch Chems., C.A.

No. 18-2037, D.I. 36 at 3-4 (attached hereto as Ex. B). Unlike the parties in Arch

Chemicals that were negotiating a settlement, Impossible Foods is ready to move

forward with this case.

       As for Motif’s reliance on cases from other districts (D.I. 9 at 12-13), courts

in this District have declined to follow such cases because they are “not binding on

this court, and inconsistent with the weight of authority in this district.” Universal



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Secure Registry, 2018 WL 4486379, at *2, n.3.

      B.      The Factors Weigh Against a Stay

              1.    The Simplification-of-Issues-for-Trial Factor Weighs Against
                    a Stay.

      The simplification-of-the-issues-for-trial factor weighs against a stay here.

Courts in this District have held that “the ‘simplification’ issue does not cut in favor

of granting a stay prior to the time the PTAB decides whether to grant the petition

for [IPR].” Advanced Microscopy, 2016 WL 558615, at *2 (emphasis added); Copy

Prot., 2015 WL 3799363, at *1 (same). Further, the Supreme Court’s 2018 decision

in SAS Institute, Inc. v. Iancu, 138 S. Ct. 1348 (2018), made institution a “binary”

decision such that institution must be granted either on all challenged claims or none,

causing “issue simplification” to become even more “depend[ent] on whether the

PTAB institutes or dismisses” the petition. See Universal Secure Registry, 2018 WL

4486379, at *3 (“Without any certainty as to whether the PTAB will institute review,

the extent to which the issues before the court might be simplified remains

unknown.”).

      Here, Motif’s arguments regarding simplification all hinge on the PTAB

instituting IPR. D.I. 9 at 8-13. Thus, “[u]nless the PTAB institutes IPR proceedings,

[defendant’s] argument regarding the alleged simplification of issues for trial rests

on the mere speculation that such institution will occur.” Novozymes, 2020 WL

12895020, at *2 (internal quotation marks omitted). Indeed, “[i]f no review is


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instituted, the asserted basis for a stay will fall away.” Advanced Microscopy, 2016

WL 558615, at *2. None of Motif’s arguments make the effect of a stay any less

speculative at this time.

         Motif’s contention that there is a “strong likelihood that review will be

instituted” (D.I. 9 at 13), is nothing more than self-serving speculation. At this point,

all that has happened in the IPR is that Motif has filed a petition requesting PTAB

review.     At this time, that record is entirely one-sided (Impossible Foods’

preliminary response is due at the end of July) and the PTAB is nowhere near

weighing the merits of the petition. Yet, Motif effectively asks this Court to rule

that the mere filing of an IPR petition is sufficient to bring this Court’s ongoing

proceedings to a premature halt. The PTAB would not decide institution at this

stage, before the patentee has a fair opportunity to respond, and neither should this

Court.

         Even if the PTAB were to institute Motif’s IPR, that does not mean that the

PTAB will have found that Motif’s challenge to all claims—or more than one

claim—is likely to succeed. An institution decision means only that the PTAB has

determined that “there is a reasonable likelihood that the petitioner would prevail

with respect to at least [one] of the claims challenged in the petition.” 35 U.S.C.

§ 314(a). This is further reason why this litigation should not be stayed prior to an

institution decision. On the chance that Motif’s petition is instituted, the IPR will



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not be complete until at least October 2023. 35 U.S.C. § 316(a)(11). Issuing a stay

now for the duration of the IPR proceedings, despite the fact that some—or all—of

the challenged claims are likely to survive the challenge, and waiting until October

2023 to begin fact discovery will prevent the timely advance of this action.

Therefore, this factor weighs against a stay.

             2.     The Status of the Litigation Factor Weighs Against a Stay.

      The current status of this litigation also weighs against a stay. Party and Court

resources would not be wasted if this case moves forward at least until the PTAB’s

decision on whether to institute. Since an institution decision is expected by October

2022, the decision “will come before the parties expend significant resources on

discovery or claim construction.” Novozymes, 2020 WL 12895020, at *1. Indeed,

“it is likely that the institution decision will precede large scale discovery efforts.”

Id.; see also Universal Secure Registry, 2018 WL 4486379, at *3. “There is nothing

in this record to suggest that engaging in fact discovery and preparation for claim

construction for an additional few months pending action by the PTAB will

unusually tax or waste the resources of the parties.” Universal Secure Registry, 2018

WL 4486379, at *3; see also NuVasive, 2015 WL 3918866, at *2 (finding “the

modest amount of case-related activity that will have occurred in the interval”

between Defendant’s pre-institution motion to stay and the institution decision “will

not have amounted to a large-scale waste of resources”).



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      Much of the fact discovery that the parties will conduct will not be wasted

regardless of whether the IPR is instituted. Discovery on secondary considerations

of non-obviousness is highly relevant to the validity analysis and can be used in the

PTAB as well. This includes discovery regarding sales information for the parties’

products that practice the ’761 claims, the need for the patented invention, copying,

skepticism, and unexpected results. KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406

(2007) (identifying secondary considerations). On the other hand, a stay could delay

the parties’ ability to conduct fact discovery for up to 18 months after the case was

filed. Indeed, “putting th[is] case on hold until the decision to institute is made is

likely less efficient than continuing on track through discovery.” Universal Secure

Registry, 2018 WL 4486379, at *3. Likewise, any progress that the parties make

toward initiating the claim construction process has value regardless of whether an

IPR is instituted. Id. (denying a stay where parties had engaged in some “preliminary

discovery” because “it is more practical to allow preliminary claim construction

activity to proceed while awaiting the PTAB’s decision on whether to institute

proceedings on [the] petitions”). Thus, this factor weighs against a stay.

             3.    The Prejudice Factor Weighs Against a Stay.

      A stay will unfairly prejudice Impossible Foods. Impossible Foods and Motif

are direct competitors, and Motif asks the Court to defer to the PTAB—in front of

which it hopes to pursue its prior art defenses while delaying discovery on



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Impossible Foods’ infringement and damages claims before this Court. This would

give Motif a distinct tactical advantage, all while it continues with its infringing

behavior.

      As an initial matter, Motif’s assertions that Impossible Foods’ conduct

demonstrates that Impossible Foods will not be prejudiced are unfounded. For

example, Motif’s contention that Impossible Foods somehow delayed in bringing

suit ignores the time Impossible Foods took to investigate its claim. Moreover,

Motif did not announce the launch of any commercial products until shortly before

the suit was filed. Similarly, Motif’s contention that Impossible Foods will not be

prejudiced by a stay because Impossible Foods did not seek a preliminary injunction

is nonsensical. Under Motif’s argument, anytime a plaintiff does not move for and

secure a preliminary injunction, a defendant can stall the litigation by filing a petition

for IPR. A number of considerations go into whether to file for a preliminary

injunction, including factors irrelevant to prejudice to the plaintiff, making it an

improper indicator of prejudice for purposes of a motion to stay. See SenoRx, Inc.

v. Hologic, Inc., C.A. No. 12-173-LPS-CJB, 2013 WL 144255, at *8 (D. Del. Jan.

11, 2013) (citing “the high burden one must face to obtain a preliminary injunction

and the difficulty in doing so without first having access to substantial discovery” as

a reason why a plaintiff may not seek a preliminary injunction).

      Likewise, Motif overstates Impossible Foods’ alleged “lack of urgency” with



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respect to the instant motion. See D.I. 9 at 17. Motif demanded a meet and confer

immediately after filing its IPR petition without giving Impossible Foods any time

to review the petition, let alone consider the merits of the petition or the instant

motion. A few days to coordinate schedules and consider the petition and motion

does not equate to delay or a lack of urgency. Moreover, if any party has sought to

delay this case, it is Motif: first, by seeking a 30-day extension to respond to

Impossible Foods’ Complaint (which Impossible Foods granted as a courtesy), and

second, by seeking a stay with the instant motion based on an event that may not

happen at all, and in any event will not happen for another six months.

      Additionally, Motif is attempting to gain a tactical advantage for its prior art

defenses while stalling discovery into its own infringement, including willful

infringement, and damages. Novozymes, 2020 WL 12895020, at *3 (“Staying the

case at this point would allow Defendants to evade discovery on the claims at issue

in this litigation and risks ‘prolonging the final resolution of the dispute and thereby

may result in some inherent prejudice to the plaintiff.’”); see also Copy Prot., 2015

WL 3799363, at *1 (same). Indeed, Motif seeks to evade discovery and prosecution

of Impossible Foods’ claims before this Court by delaying an infringement finding

as long as possible while advancing its affirmative claim of alleged invalidity. This

is contrary to the codified policy for IPRs that allows a district court case to proceed

ahead of an IPR. 35 U.S.C. § 315(b) (allowing defendants up to a year to file an IPR



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petition).

       Denying Motif’s stay, on the other hand, will not result in any great harm to

Motif. Although Motif will be required to expend some resources prior to the

institution decision, none are so great as to amount to undue hardship. Yodlee, Inc.

v. Plaid Techs. Inc., C.A. No. 14-1445-LPS-CJB, 2017 WL 401896, at *2 (D. Del.

Jan. 27, 2017) (“A movant’s failure to articulate a clear hardship or inequity that it

would suffer in the absence of a stay also weighs against such relief.”); Personalized

User Model, L.L.P. v. Google, Inc., C.A. No. 09-525-LPS, 2012 WL 5379106, at *2

(D. Del. Oct. 31, 2012) (where movant points to “no other hardship other than the

expense of litigation and the risk that the reexaminations will render the case moot

. . . these do not rise to the level of undue hardship favoring a stay.”).

       Thus, this factor weighs against a stay.

V.     CONCLUSION

       For the foregoing reasons, Impossible Foods respectfully requests that the

Court deny Motif’s motion.




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      I hereby certify that the foregoing document complies with the type-volume

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                                          /s/ Ian R. Liston
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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 10th day of May, 2022, I caused the foregoing

document to be served, by CM/ECF, upon all counsel of record.



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